       Case 2:18-mj-00152-EFB Document 187 Filed 07/03/19 Page 1 of 6

 1

 2

 3

 4

 5

 6                                UNITED STATES DISTRICT COURT
 7                         FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9                                                      No. 2:18-mj-152-EFB
      IN THE MATTER OF THE
10    EXTRADITION OF OMAR
      ABDULSATAR AMEEN TO THE
11    REPUBLIC OF IRAQ                                  ORDER
12

13          Pending before the court is the government’s opposition to modification of the protective

14   order and request for limited reconsideration. ECF No. 185. Therein the government opposes

15   counsel for Ameen’s request to modify the protective order (detailed infra) and seeks

16   reconsideration of the court’s order directing that the names of FBI Special Agents 1 and 2 be

17   provided to counsel for Ameen. In the alternative, the government requests that the court defer

18   ruling on both issues until the supplemental extradition submission from the Republic of Iraq has

19   cleared diplomatic channels. For the reasons stated hereafter, the court orders that: (1) the

20   protective order be modified; and (2) the government’s request for reconsideration be denied.

21                                               Background

22          I.      Protective Order

23          The proposed modifications to the protective order (ECF No. 12) are limited in scope to

24   the statements of Witnesses A and B and are expressed as follows:

25                  Regarding statements by Witnesses A and B that have been provided
                    to the Defense by the Government, the Court permits the Defense to
26                  provide copies of those statements directly to Iraqi Attorney Layth
                    Madab, so that Mr. Madab may provide copies of the statements
27                  directly to Witnesses A and B for their review. Mr. Madab may not
                    provide the statements to any other person.
28
                                                       1
        Case 2:18-mj-00152-EFB Document 187 Filed 07/03/19 Page 2 of 6

 1   ECF No. 183 at 1. Mr. Layth Adnan Madab (“Madab”) is an attorney in Baghdad, Iraq and has
 2   been hired by Ameen’s family to represent him there. ECF No. 161-1 at 7, ¶ 1. He met with
 3   Witnesses A and B earlier this year, but was unable, due to the current protective order, to obtain
 4   the relevant statements attributed to these witnesses from the defense.1 Id. at 5, ¶ 20.
 5           The government opposes modification of the protective order for several reasons. First, it
 6   argues that Madab’s recent contact with Witnesses A and B ran afoul of Iraqi criminal
 7   procedure,2 which requires all witness contact to occur in court and in the presence of the
 8   investigating judge. ECF No. 185 at 2. The government avers that “the purpose of [this] rule is
 9   to prevent the obtainment of statements pursuant to intimidation or coercion.” Id. It goes on to
10   note that Madab is not a neutral party and does not have an interest in representing or
11   safeguarding the interests of Witnesses A and B. Id.
12           Next, the government states that Madab is associated with the tribal leader Yasir Ahmed
13   Abdulrazzaq (“Abdulrazzaq”). Id. The government previously raised concerns about
14   Abdulrazzaq vis-a-vis Witnesses A and B because the former is allegedly a relative of Ameen and
15   was, at some unspecified time, detained by U.S. forces for “known or suspected connections to
16   terrorism.” ECF No. 173 at 7. Abdulrazzaq has provided a declaration in support of Ameen in
17   this case, wherein he identifies himself as “the tribal leader and Mayor of the Military District in
18   Rawah.” ECF No. 159-11 at 3, ¶ 2. He states that his father was a cousin of Ameen’s father. Id.
19   at 3, ¶ 1. Abdulrazzaq also states, however, that he was threatened and jailed by the Islamic State
20   /////
21
             1
22           Madab also states that he requested documentation relating to this case from the Al-
     Karkh Court in Baghdad, but found that no one there was willing to cooperate with him or to
23   confirm or deny the existence of an active case against Ameen. ECF No. 161-1 at 5, ¶ 19.

24           2
              The government does not cite any Iraqi law and states that its summation of Iraqi
     criminal procedure is “to the best knowledge of the United States.” ECF No. 1 at 2. However,
25   the defense has provided a more in-depth analysis, with citation to Iraq’s Criminal Procedure
26   Code and Iraqi Bar Association Code of Conduct, indicating that Madab’s actions did not violate
     Iraqi law or procedure. See ECF No. 186 at 1-5. In any event, as discussed infra, this court’s
27   authority extends only to the conduct of defense counsel in this extradition proceeding. This
     court does not purport to assert any authority over the conduct of Iraqi attorneys practicing in Iraq
28   or over the Iraqi proceedings.
                                                       2
       Case 2:18-mj-00152-EFB Document 187 Filed 07/03/19 Page 3 of 6

 1   when they controlled Rawah. Id. at 4, ¶ 6. At the last hearing in this case, the defense called the
 2   government’s concerns about Abdulrazzaq “baseless.” ECF No. 184 at 5.
 3           Finally, the government states that this court is without any mechanism for enforcing the
 4   terms of the protective order if it were violated by individuals in Iraq. ECF No. 185 at 3. It states
 5   that Witness A and B will be permitted to view their statements by the investigating judge and
 6   through official channels. Id.
 7                                                  Analysis
 8          The court, as it indicated at the last hearing, intends to facilitate presentation of the
 9   relevant prior written statements to Witnesses A and B for their review. ECF No. 184 at 4. As
10   addressed in the prior hearing, the defense has challenged the authenticity of those written
11   statements and asked that the witnesses be provided copies for their review. The government has
12   indicated (as noted supra) that the investigating judge will make these statements available to
13   Witnesses A and B by way of official channels. ECF No. 185 at 3. Unfortunately, there is no
14   indication as to when that presentation will occur. Nor is it clear whether any statements made to
15   the investigating judge by Witnesses A and B would, in turn, be made available to the defense (in
16   their original form or at all).3 Thus, the court will not reject modification of the protective order
17   on that basis.
18          The pertinent question is whether the government has offered a sufficient basis for
19   rejecting the proposed modification based on concerns about either compliance with Iraqi
20   criminal procedure or witness safety. The concerns about Iraqi procedure are inapposite because
21   it goes without saying that this court has no authority to interpret4 or enforce Iraqi procedure. The
22   court is tasked only with deciding whether counsel for Ameen may turn over copies of the
23   witness statements to Ameen’s Iraqi counsel, Madab. As noted before, the issue before this court
24
            3
              Those statements could, the court presumes, be included in the supplemental extradition
25   packet from Republic of Iraq. Nothing in the record indicates, however, that they would
26   necessarily be. The Republic of Iraq has complete control of the form and content of that
     supplement.
27
            4
             And, even if the court were inclined to determine whether Madab had violated that
28   procedure, it could not do so from the vague assertions in the government’s opposition.
                                                      3
       Case 2:18-mj-00152-EFB Document 187 Filed 07/03/19 Page 4 of 6

 1   is whether those documents can be properly authenticated as evidence in support of probable
 2   cause for the alleged extraditable offense. Thus, there are important reasons for permitting
 3   counsel for Ameen to provide the witnesses with copies of statements they are alleged to have
 4   signed. Obviously, Ameen’s counsel in this proceeding are in California and the witnesses are in
 5   Iraq. Modifying the protective order to permit counsel here to deliver copies to Ameen’s Iraqi
 6   counsel is a reasonable means of providing them to the witnesses. If, after those statements are
 7   made available to Madab, there is some question of whether he is, under Iraqi law, permitted to
 8   present those statements to the witnesses that question will lie within the purview of the Iraqi
 9   judiciary.
10          The concerns regarding witness safety and coercion are less straightforward. The court
11   itself previously expressed some concern over Abdulrazzaq’s meeting with Witnesses A and B at
12   the last hearing. ECF No. 184 at 4-5. But counsel for Ameen clarified that Abdulrazzaq did not
13   have to be involved in any future presentation of witness statements and that Madab would be the
14   solitary conduit for presenting the statements to the witnesses. Id. at 3. Unsatisfied, the
15   government now argues that Madab is “[f]rom the perspective of Witnesses A and B, . . . already
16   associated with the “tribal leader” Abulrazzaq, who brought [Madab] to their house to ask
17   questions on behalf of Ameen.” ECF No. 185 at 2. Clearly, Madab has been retained to
18   represent the interest of Ameen. But the government has not provided any evidence that Madab’s
19   representation of Ameen’s interest has been concealed or that Witnesses A and B view Madab as
20   being associated, in any pernicious way, with Abdulrazzaq. Nor is there any evidence that Madab
21   has himself engaged in coercive activity with respect to either witness. While it is true, as the
22   government notes, that Madab is representing Ameen and, thus, not a neutral party, that fact alone
23   does not automatically render his contact with Witnesses A and B coercive or threatening such
24   that this court should reject modification of the protective order. Absent some affirmative
25   evidence that Madab has dealt (or will likely deal) inappropriately with Witnesses A and B, the
26   court is inclined to grant the modification.
27          Accordingly, the protective order in this case will be modified to allow Madab to be
28   provided with the relevant statements for the purpose of providing them to Witnesses A and B for
                                                        4
       Case 2:18-mj-00152-EFB Document 187 Filed 07/03/19 Page 5 of 6

 1   their review. The modification forbids using the statements for any other purpose or providing
 2   them to any other person(s).
 3          II.     Names of FBI Special Agents
 4          On May 22, 2019, the court directed the government to provide counsel for Ameen with
 5   the names of three FBI Special Agents (referenced numerically as 1, 2, & 3) who were involved
 6   in interviewing the witness known as “Person 5” and in investigating a possibly forged official
 7   document. ECF No. 160 at 9, 25. In a previous filing, the government stated that it has already
 8   provided the defense with the name of FBI Special Agent 3. ECF No. 178 at 2. Thus, only the
 9   names of FBI Special Agents 1 and 2 remain at issue.
10          In its motion for reconsideration, the government argues that new evidence supports
11   reconsideration of the court’s order to provide these names. First, it avers that neither agent: (1)
12   was present when Witness A or B signed any document; (2) ever met Witness A or B; or (3) had
13   any involvement in the Republic of Iraq’s extradition request. ECF No. 185 at 3. Second, the
14   government states that the supplemental extradition submission that is forthcoming from the
15   Republic of Iraq will constitute new evidence that will render the testimony of the Special Agents
16   less relevant. Id. at 3-4. The government contends that the supplemental submission “is expected
17   to establish that Judge Dhiya received the testimony of all three witnesses, presided over the
18   photo identifications, and saw the witnesses sign their statements.” Id. at 4.
19                                                 Analysis
20          The court, after considering the government’s argument for reconsideration, declines to
21   reverse its previous decision that the names be provided. It may be, as the government argues,
22   that the agents will have little or nothing of substance to say regarding the possibility of forged
23   signatures. It may also be that the supplemental extradition materials from the Republic of Iraq
24   will render any testimony by the agents less probative. These contentions remain hypothetical at
25   this juncture: the agents have not yet testified, nor have the supplemental extradition materials
26   been submitted. More importantly, the government has yet to articulate any specific burden –
27   related to either logistics or national security – which militates in favor of withholding the names
28   of the agents from Ameen’s counsel. If the agents have nothing valuable to add to these
                                                        5
       Case 2:18-mj-00152-EFB Document 187 Filed 07/03/19 Page 6 of 6

 1   proceedings, then their testimony is likely to be short and neither counsel for Ameen, the court,
 2   nor any future court sitting in review will be left to speculate whether important evidence was
 3   excluded. On the other hand, in light of the questions that have arisen over authentication of
 4   witnesses’ statements, whatever information the agents have will be helpful to the court.
 5           III.    Request to Defer
 6           Finally, the government asks that, in the alternative, the court defer ruling on these issues
 7   until after the Republic of Iraq’s supplemental filing is submitted. At the time of filing, however,
 8   the court has not been provided with a definitive date when that submission will occur. The court
 9   is inclined to lay these issues – especially the provision of the agents’ names – to rest. Thus, it
10   declines to defer its ruling.
11                                                Conclusion
12           It is ORDERED that:
13           1.      The protective order be modified to include the following language:
                     Regarding statements by Witnesses A and B that have been provided
14                   to the Defense by the Government, the Court permits the Defense to provide
                     copies of those statements directly to Iraqi Attorney Layth
15
                     Madab, so that Mr. Madab may provide copies of the statements directly
16                   to Witnesses A and B for their review. The Defense shall,
                     prior to providing the statements, obtain Mr. Madab’s agreement that
17                   the statements shall not be provided to any other person(s) or used
                     for any other purpose.
18

19           2.      Counsel for Ameen shall convey to Madab a copy of this order, translated into
20   Arabic, to ensure that he understands its contents;
21           3.      The government’s motion for limited reconsideration (ECF No. 185) is DENIED
22   and;
23           4.      Within seven days from the date of service of this order, the government shall
24   provide Ameen’s counsel with the names of FBI Special Agents 1 and 2.
25   DATED: July 3, 2019.
26

27

28
                                                        6
